Case 1:20-cr-00342-SEB-MJD Document 43-7 Filed 05/25/22 Page 1 of 1 PageID #: 234




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                                              235fvttrtn Street   nff,yston, Ofr*t 45ffi745i|

                                             off$     (513)   45746t1 fafi (5u) %t-zit4

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             December      15   ,2017

             Re; Request for demonstration FNH USA

             Mr. Johnathan Marcurn
             4-35-047-01-8K-04 785
             DBA.: MarcumFireal'ms
             18224 Marcurn Lane
                   h, 47021
             Larrrel,

            Dear     Mr Marcum:

            The Addyston, Ohio Police Departmeni would like a demonsttation of the iollorving FN macfune
            Euns (2) FN M249 saw 5.56MM, (2)FVlvl?49 Para5.56MM, M2'IrB ecB 12.Tx99, FIIM240L
            7.62mm , scAR 16 5.56r45mm Blk 10-in cQC, scAR 16 5-56x45rnm FDE 14-in , scAR 17
            7'62x5lmm FDE 15-in, for possible future purchase and use of our officers in the performance
            of their official duties. The uumber of sworn ftrll time oflicers in our department is 10. These
            officers ate authorized by larv to make a[esls and carry {irearms in. tire perfounance of their
            official duties.

            The firearnrs reQuested for demonsuation are particularly stritable for use as a law enforceslent
            $'6apoos. The personneJ represenfing the Addyston Police Deparhlent ue authoqized by law to
            cag4r firearm.s in the pedormance of ttreir official duties. The personnei representing the
            Addyston Police Department dtning the demonstration are authorized. to evaluate the tirearms.

            If   there are any,questiors, please contact our office-



            Sincerely yours,


            Cirief Doi-ian D, LaCourse


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